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THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA )
)

Vv. ) Case No. 23-cr-427 (DLF)

) 24-cr-238 (DLF)
DAN EDWIN WILSON, )
Defendant )

NOTICE OF CERTIFICATE OF PARDON

The Defendant, Dan Edwin Wilson, through undersigned counsel, respectfully
gives notice of his Certificate of Pardon provided by the U.S. Office of the Pardon
Attorney, attached as Exhibit A, memorializes the President’s pardoning of Mr.
Wilson in the above-listed cases. United States v. Dan Edwin Wilson, No. 1:23-cr-

427 & 1:24-cr-238 (DLF).
Respectfully submitted,

GEORGE T. PALLAS, P.A
Counsel for Dan Edwin Wilson
Bar No: FL0108

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Miami, FL 33145
305-856-8580

305-860-4828 FAX
george@pallaslaw.com

By:/s/ George T. Pallas
GEORGE T. PALLAS, ESQ.

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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a true and correct copy of the foregoing has been

electronically filed with the Clerk of Court using CM/ECF system which will send

notification of such filing.

By:/s/_ George T. Pallas

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EXHIBIT A
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Document 110

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